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 5   Attorney for Robert Carrillo
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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        Case No. 12-185 TLN
12                      Plaintiff,                    STIPULATION AND ORDER TO
                                                      CONTINUE STATUS CONFERENCE
13          v.
                                                      Judge: Hon. Troy L. Nunley
14   Robert Carrillo,                                 Time: 9:30 a.m.
                                                      Date: September 22, 2016
15                      Defendant.
16

17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

18   counsel, Jason Hitt, Assistant United States Attorney, Michael Petrik, Counsel for Robb Cheal,

19   Chris Cosca, Counsel for Ryan Cheal, and Dustin D. Johnson, Counsel for Robert Carrillo, that

20   the status conference date of July 28, 2016 be vacated, and the matter be set for status conference

21   on September 22, 2016 at 9:30 a.m. under Local Code T4. The reason for this continuance is to

22   allow the defense additional time to review the case. Counsel for Mr. Carrillo was appointed to

23   represent Mr. Carrillo in November and needs additional time to review the discovery, perform

24   investigation and research and meet with and discuss the case with Mr. Carrillo. Counsel for Mr.

25   Carrillo has requested additional discovery and will require additional time to read and consider

26   that discovery once it has been received. Mr. Carrillo agrees with this continuance.

27          Mr. Petrik, Robb Cheal’s attorney, agreed to this continuance via email.

28          Mr. Cosca, Ryan Cheal’s attorney, agreed to this continuance via email.
 1          The prosecutor has authorized defense counsel to sign this stipulation on his behalf.
 2          Based on the above-stated findings, the ends of justice served by continuing the case as
 3   requested outweigh the interests of the public and the defendant in a trial within the original date
 4   prescribed by the Speedy Trial Act.
 5          For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
 6   within which trial must commence, the time period of July 28, 2016 to September 22, 2016,
 7   inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
 8   because it results from a continuance granted by the Court at defendant’s request on the basis of
 9   the Court’s finding that the ends of justice served by taking such action outweigh the best
10   interests of the public and the defendant in a speedy trial.
11          Nothing in this stipulation and order shall preclude a finding that other provisions of the
12   Speedy Trial Act dictate that additional time periods are excludable from the period within which
13   a trial must commence.
14   Dated: July 26, 2016                                   Respectfully submitted,
15
                                                            /s/ Dustin D. Johnson
16                                                          Dustin D. Johnson
                                                            Counsel for Robert Carrillo
17

18
     Dated: July 26, 2016                                   Respectfully submitted,
19

20                                                          /s/ Michael Petrik (approved via email)
                                                            Michael Petrik, DFPD
21
                                                            Counsel for Robb Cheal
22

23   Dated: July 26, 2016                                   Respectfully submitted,
24

25                                                          /s/ Chris Cosca (approved via email)
                                                            Chris Cosca
26                                                          Counsel for Ryan Cheal
27   ///

28   Dated: July 26, 2016                                   PHILLIP A. TALBERT
                                                       2
 1       Acting United States Attorney
 2
         /s/ Jason Hitt (approved via email)
 3       JASON HITT
         Assistant U.S. Attorney
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 8                                   UNITED STATES DISTRICT COURT
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11   UNITED STATES OF AMERICA,                          Case No. 12-185 TLN
12                      Plaintiff,                      ORDER TO CONTINUE STATUS
                                                        CONFERENCE
13          v.
                                                        Judge: Hon. Troy L. Nunley
14   Robert Carrillo,                                   Time: 9:30 a.m.
                                                        Date: September 22, 2016
15                      Defendant.
16

17          The Court, having received, read, and considered the stipulation of the parties, and good

18   cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds that

19   the failure to grant a continuance in this case would deny defense counsel reasonable time

20   necessary for effective preparation, taking into account the exercise of due diligence. The Court

21   finds that the ends of justice served by granting the continuance outweigh the best interests of the

22   public and defendants in a speedy trial.

23          The Court orders the status conference rescheduled for September 22, 2016, at 9:30 a.m.

24   The Court orders the time from the date of this order, up to and including September 22, 2016,

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 1   excluded from computation of time within which the trial of this case must commence under the
 2   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
 3   Dated: July 26, 2016
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 5                                                     ______________________
                                                       TROY L. NUNLEY
 6                                                     United States District Court Judge
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